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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION




LIOBAR ESTUPINAN,


v.                                     Case No. 8:05-cr-240-T-24MSS
                                                8:06-cv-1866-T-24MSS

UNITED STATES OF AMERICA.


                                        ORDER

       This cause is before the Court on Defendant Liobar Estupinan's amended motion

to vacate, set aside, or correct an allegedly illegal sentence pursuant to 28 U.S.C. § 2255

(Doc cv-4;cr-136).

                                     BACKGROUND

       On August 3, 2005, Estupinan pled guilty, pursuant to a written plea agreement, to

count two of a two-count indictment, which charged Estupinan with conspiracy to possess

with intent to distribute five kilograms or more of cocaine while on board a vessel subject

to the jurisdiction of the United States, in violation of 46 Appendix, U.S.C. § § 1903(a),

1903(g), and 1903(j); 21 U.S.C. 960(b)(1)(B)(ii). (Doc. cr-55 [Plea Agreement]; cr-140

[Change of Plea Hearing]; cr-96 [Judgment]).
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       The written plea agreement contained an appeal waiver that read:

               The defendant agrees that this Court has jurisdiction and authority to
       impose any sentence up to the statutory maximum and expressly waives the
       right to appeal defendant's sentence or to challenge it collaterally on any
       ground, including the ground that the Court erred in determining the
       applicable guidelines range pursuant to the United States Sentencing
       Guidelines, except (a) the ground that the sentence exceeds the defendant's
       applicable guidelines range as determined by the Court pursuant to the
       United States Sentencing Guidelines; (b) the ground that the sentence
       exceeds the statutory maximum penalty; or (c) the ground that the sentence
       violates the Eighth Amendment to the Constitution; provided, however, that
       if the Government exercises its right to appeal the sentence imposed, as
       authorized by Title 18, United States Code, Section 3742(b), then the
       defendant is released from his waiver and may appeal the sentence as
       authorized by Title 18, United States Code, Section 3742(a).

(Doc. cr-55 at 13). On November 18, 2005, the Court sentenced Estupinan to one hundred

and twenty-one months incarceration as to count two of the indictment. (Doc. cr-96) Count

one was dismissed on the Government's motion. Judgment was entered that day,

November 18, 2005. (Doc. cr-96) Estupinan did not appeal the conviction or sentence.

       On September 25, 2006, Estupinan signed a timely motion to vacate. The Court

ordered Estupinan to file an amended motion to vacate, which he did, on January 26, 2007,

raising four grounds for relief. A review of the record in this case demonstrates that, for the

following reasons, Estupinan's motion to vacate must be DENIED.

                                         Discussion

                                        Ground One

       Estupinan alleges that his counsel was ineffective for failing to (A) explain the

consequences of a guilty plea; (B) request an evidentiary hearing; (C) present a downward

department for collateral consequences pursuant to 18 U.S.C.§ 3553(a) and (b), USSG §

5K2.0(a)(1), (2), (3), and (4); (D) argue against the mandatory sentencing scheme that is


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now unconstitutional; (E) attain a minor or minimal role as promised and to receive any

leniency or benefits for entering into a plea agreement that yielded no benefits; and (F)

request proof of criminal jurisdiction, subject matter jurisdiction, territorial jurisdiction and

exclusive jurisdiction. (Amended Motion To Vacate, Doc. cv-4 at p. 5).

                  Standard of Review for Effective Assistance of Counsel

       To prevail on a claim alleging ineffective assistance of counsel, Estupinan must meet

the two-part test set forth in Strickland v. Washington, 466 U.S. 668 (1984). Strickland's

two-part test requires a defendant to demonstrate that counsel's performance was deficient

and "there was a reasonable probability that, but for counsel's unprofessional errors, the

result of the proceeding would have been different." Id. However, if a claim fails to satisfy

the prejudice component, the Court need not make a ruling on the performance

component.

       The two-pronged Strickland test is applicable to ineffective assistance of counsel

claims arising out of the plea process. Hill v. Lockhart, 474 U.S. 52, 57 (1985). Counsel

owes a lesser duty to a client who pleads guilty than to one who goes to trial. When a client

pleads guilty, counsel need only provide his client with an understanding of the law in

relation to the facts, so that the defendant may make an informed and conscious choice

between accepting the prosecution's offer and going to trial. Wofford v. Wainwright, 748

F.2d 1505, 1508 (11th Cir. 1984). To impart such an understanding to the accused,

counsel must make an independent examination of the facts, circumstances, pleadings and

laws involved, and then offer counsel's informed opinion as to the best course to be

followed in protecting the interests of the client.

       The second prong of the Strickland test focuses on whether counsel's alleged

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constitutionally ineffective performance affected the outcome of the plea process. Hill, 474

U.S. at 59. In other words, in order to satisfy the prejudice requirement, the defendant

claiming ineffective assistance of counsel during the plea process must show that there is

a reasonable probability that, but for counsel's alleged errors, the defendant would not have

pled guilty and would have insisted on going to trial. Id.

                                    Estupinan's Claims

       First, Estupinan alleges that counsel was ineffective for failing to explain the

consequences of a guilty plea. In his original motion to vacate (Doc. cv-1), Estupinan

phrased this claim as "The defendant argues that his lawyer failed in his obligatory duties

in that he did not explain the consequences of a plea agreement prior to its signing." If

what Estupinan means is that his attorney did not go over the plea agreement with him

prior to his signing it, this claim has no merit. At the change of plea hearing, after

interpreter Pedro Marino and Estupinan were sworn, Estupinan stated that he had signed

the plea agreement voluntarily (Doc. cr-140 at p. 9) after the plea agreement was read to

him in Spanish. He stated that he understood all of the terms in the plea agreement. (Doc.

cr-140 at p. 10).

       If, on the other hand, Estupinan is contending that his counsel was ineffective for

failing to explain the consequences of the guilty plea, his claim fails because Estupinan

cannot show prejudice. The United States Magistrate Judge went over the entire plea

agreement with Estupinan, paragraph by paragraph. She explained the meaning of each

paragraph and explained the ramifications of Estupinan's pleading guilty. (Doc. cr-140 at

pp. 10-20). The Magistrate Judge explained the rights Estupinan was giving up by pleading



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guilty, including the right to a trial by jury. (Doc. cr-140 at pp. 28).1

        Estupinan swore that no one had promised him anything "to get you to give up your

right to jury trial other than what is in this plea agreement." (Doc. cr-140 at p. 28). After the

prosecutor presented the facts to support the charge against Estupinan, Estupinan agreed

that the facts were true. (Doc. cr-140 at pp. 28-32). He swore that he did not have any

questions about the consequences of pleading guilty. (Doc. cr-140 at p. 32). Finally,

Estupinan pled guilty and swore that he was pleading guilty because he was guilty. (Doc.

cr-140 at p. 34). This claim does not warrant relief.

        Next, Estupinan alleges that his counsel was ineffective for failing to request an

evidentiary hearing. This claim has no merit. Estupinan has not alleged any issues on

which an evidentiary hearing would have been necessary or appropriate. The Court held

two hearings in this case: a change of plea hearing at which Estupinan pled guilty and a

sentencing hearing. (Doc. cr-140, 132). Estupinan had an opportunity to speak, through

his sworn interpreter, at both hearings. He did not request any type of evidentiary hearing

at either hearing, and he has not alleged any legal issues the Court should have addressed

in an evidentiary hearing. This claim does not warrant relief.

        Next, Estupinan alleges that his counsel was ineffective for failing to present a

downward departure for collateral consequences pursuant to 18 U.S.C. § 3553(a) and (b),

USSG § 5K2.0(a)(1)-(4). This claim has no merit because even if counsel had argued at

sentencing for a downward departure for collateral consequences pursuant to 18 U.S.C.


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             After the Magistrate Judge had explained what giving up the right to trial by jury meant, Estupinan
said he "didn't understand it too well." (Doc. cr-140 at p. 25). The Magistrate Judge again explained what
a right to trial by jury entailed and Estupinan stated that he understood and wished to give up his right to jury
trial and plead guilty. (Doc. cr-140, pp. 25-28).

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§ 3553(a) and (b), USSG § 5K2.0(a)(1)-(4), the argument would have been unsuccessful.

(See case law, infra, in grounds three and four). Estupinan cannot fault his counsel, and

cannot show that he was prejudiced under the Strickland standard, for counsel's not

presenting "a downward departure [argument] for collateral consequences." Furthermore,

the Court specifically stated that it considered the 18 U.S.C. § 3553 factors in sentencing.

(Doc. cr-132 at p. 18). This claim does not warrant relief.

        Next, Estupinan alleges that his counsel was ineffective for failing to argue against

the mandatory sentencing scheme that is now unconstitutional. This claim also has no

merit. In United States v. Booker, 543 U.S. 220 (2005), the United States Supreme Court

held that the sentencing guidelines were advisory. Estupinan stated that his attorney had

reviewed the Presentence Investigation Report (PSR) with him. Paragraph 13, page 3 of

the PSR reads:

        13. The Probation Office used the November 1, 2004 edition of the
        Guidelines Manual in determining the applicable guideline range. In
        accordance with United States v. Booker and Fantan, the Court must
        consider the advice of, but is not bound by, the federal sentencing guidelines.
        In determining the particular sentence to be imposed, the Court will also take
        into account the factors listed in 18 U.S.C. § 3553(a).2

        Estupinan was aware that he was being sentenced pursuant to advisory, not

mandatory guidelines. It was not ineffective for counsel not to argue against an

unconstitutional mandatory sentencing scheme in Estupinan's case because the Court



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          After United States v. Booker, 543 U.S. 220 (2005), a district court must calculate correctly the
advisory Sentencing Guidelines range and then, using the section 3553(a) sentencing factors, the court can
impose a more severe or more lenient sentence as long as it is reasonable. United States v. Crawford, 407
F.3d 1174, 1179 (11th Cir.2005). A sentence within the advisory guidelines range is not per se reasonable,
United States v. Talley, 431 F.3d 784, 786 (11th Cir.2005); but “ordinarily we would expect a sentence within
the Guidelines range to be reasonable.” Id. at 788. Reasonableness review is “deferential.” Id.


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knew the guidelines were advisory. The PSR clearly states that the guidelines were

advisory, not mandatory.     Furthermore, the Court reiterated, at sentencing, that the

guidelines were advisory.

       Next, Estupinan alleges that counsel was ineffective for failing to "attain a minor or

minimal role as promised and to receive any leniency or benefits for entering into a plea

agreement that yielded no benefits." This claim also has no merit. Estupinan has not

alleged any facts to support his claim that he was promised a minor or minimal role for

pleading guilty. At the change of plea hearing, Estupinan, under oath, stated that no one

had promised him anything in exchange for signing the plea agreement "other than what

is in the document." (Doc. cr-140 at p. 10). He stated that no one had promised him

anything in exchange for his giving up his right to appeal. (Doc. cr-140 at p. 20). He also

stated that no one had told him exactly what his sentence would be if he entered a plea

(Doc. cr-140 at p. 20), and that no one had made any promise about the sentence "that

you're relying upon in entering a plea in this case." (Doc. cr-140 at p. 21). Estupinan stated

that no one had promised him anything to get him to give up his right to jury trial other than

what was in the plea agreement, and that no one had threatened him to "give up your right

to jury trial." (Doc. cr-140 at p. 28). The plea agreement does not contain any language

promising Estupinan a minor role. Counsel argued, at sentencing, that Estupinan was

entitled to a minor role, but was unsuccessful in his argument.

       Contrary to Estupinan's contention, he did receive a benefit for entering into the plea

agreement. In paragraph 9 of the plea agreement, the Government stated that, at

sentencing, it would not oppose Estupinan's request for a two level downward departure

for acceptance of responsibility, pursuant to USSG § 3E1.1(a). In addition, the Government

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stated that, if Estupinan complied with the provisions of USSG § 3E1.1(b), the Government

would move for a downward adjustment of one additional level. In addition, in paragraph

10 of the plea agreement, the Government stated that, at sentencing, the Government

would not oppose Estupinan's request that he receive a sentence at the low end of the

applicable guidelines range. In addition, at sentencing, the Court stated that Estupinan's

entering into a plea agreement and waiving his right to appeal was a major factor in his

receiving a sentence 14 months below the advisory guideline range:

             . . . it is the judgment of this Court, Mr. Liobar Estupinan, that you be
       sentenced to 121 months in the Bureau of Prisons.3

               The 121 months reflects my opinion that you should be given some
       credit for having pled pursuant to a plea agreement in which you waived your
       right to appeal.

               And with that said, I am not in any way suggesting that I have not
       considered the advisory guidelines, and I have not considered 3553; I think
       it is a consideration that I can take into account under 3553, and so I am
       doing so.

(Doc. cr-132 at p. 18).

       Estupinan has not shown that his attorney was ineffective for failing "to attain a

minor or minimal role as promised" and "to receive any leniency or benefits for entering into

a plea agreement that yielded no benefits." This claim does not warrant relief.

       Finally Estupinan alleges that his counsel was ineffective for failing to request proof

of criminal jurisdiction, subject matter jurisdiction, territorial jurisdiction and exclusive

jurisdiction. This claim has no merit. The factual basis in the written plea agreement

contained the following paragraph:



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           This is a non-guideline sentence that is essentially one level less than the advisory guidelines.

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                The four crew members on the go-fast then began removing their
        clothes and jettisoning objects overboard. The crew was observed
        attempting to set fire to the go-fast using a flare before jumping overboard.
        All four crewmembers [sic] were eventually secured in a liferaft [sic] and then
        transferred to the USCGC CHASE for medical evaluation. None of the crew
        members claimed to be the master of the vessel, nor did anyone claim
        nationality for the vessel. As such, the go-fast was assimilated to be
        stateless, that is a vessel without nationality, and therefore, subject to the
        jurisdiction of the United States.

(Doc. cr-55 at p. 16) Estupinan initialed page 16 of the plea agreement and signed the plea

agreement.4

        Furthermore, at the change of plea hearing, the prosecutor read the facts that

supported count two of the indictment. (Doc. cr-140 at pp. 29-32). Estupinan admitted that

the facts were true. (Doc. cr-140 at p. 32). Subsequently, the Magistrate Judge asked:

              Mr. Liobar Estupinan, would you please stand. Sir, how do you plead
        to Count Two of the Indictment which charges you with conspiracy to
        possess with intent to distribute five kilograms or more of a mixture or
        substance containing a detectable amount of cocaine while on board a vessel
        subject to the jurisdiction of the United States in violating of Title 46,
        Appendix, United States Code, Sections 1903A [sic] and 1903G [sic]?

(Doc. cr-140 at p. 34) (Emphasis added).

        Estupinan pled guilty, admitting that the vessel, and he, were subject to the

jurisdiction of the United States. (Doc. cr-140 at p. 34). Estupinan cannot fault his counsel

for failing to challenge jurisdiction when Estupinan admitted, by pleading guilty in open

court, that the Court had jurisdiction. (Doc. cr-140 at p. 34).

        Because none of Estupinan's ineffective assistance of counsel claims have merit,

ground one does not warrant relief.


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           The last paragraph of the plea agreement reads: "The defendant and defendant's counsel certify
that this plea agreement has been read in its entirety by (or has been read to) the defendant and that
defendant fully understands its terms." (Doc. cr-55 at p. 17).

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                                         Ground Two

        Estupinan alleges that a departure for minor role is warranted. First, this claim is not

 a 28 U.S.C. § 2255 issue. See United States v. Ryan, 289 F.3d 1339 (11th Cir. 2002).

 Second, the claim has no merit. Estupinan was not entitled to a minor role reduction.

        Section 3B1.2(b) of the United States Sentencing Guidelines allows for a two-level

 reduction in a defendant's base offense level if the sentencing court determines that the

 defendant was a minor participant in the offense. A minor participant is a participant “who

 is less culpable than most other participants, but whose role could not be described as

 minimal.” U.S.S.G. § 3B1.2(b), comment. (n.5.). In United States v. De Varon, 175 F.3d 930

 (11th Cir.1999), the Eleventh Circuit set out two measurements that inform the sentencing

 court's mitigating-role-in-the-offense determination: (1) the defendant's role against the

 relevant conduct for which he has been held accountable; and (2) the defendant's role as

 compared to that of other participants in his relevant conduct. Id. at 940. About the first

 measurement, De Varon counsels that “[o]nly if the defendant can establish that [he] played

 a relatively minor role in the conduct for which [he] has already been held accountable-not

 a minor role in any larger criminal conspiracy-should the district court grant a downward

 adjustment for minor role in the offense.” Id. at 944. About the second measurement, De

 Varon counsels that this relative culpability inquiry includes “only those participants who

 were involved in the relevant conduct attributed to the defendant. The conduct of

 participants in any larger criminal conspiracy is irrelevant.” Id. The first measurement is the

 more important and, in many cases, may end the inquiry. Id. at 945.

        In Estupinan's case, the record supports the Court's decision to deny his request for

 a minor-role reduction. At the sentencing hearing, counsel argued for a minor role reduction

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 and the Court asked the prosecutor to respond:

               [PROSECUTOR MS. CROFF] : Uh, in this case, Your Honor, all that
       we do have is nearly three tons of cocaine, and uh, Mr. Estupinan was one
       of the four crew members on board the go-fast that assisted in transporting
       that.

              No, he was not the captain, uh, his brother was the captain, and he
       received a -- a two-level upward departure for that role.

               Uh, there's nothing that makes Mr. Liobar Estupinan any less capable
       [sic] than the other crew members on board that vessel, the other two
       mariners on board that vessel.

               THE COURT: Could you address Mr. Crawford's suggestion -- and
       this is true on some, it's not true on all that I've had -- that he's not the
       mechanic, and he's not the drug guard or load guard, or whatever we've
       decided to call that particular person.

              MS. CROFF: Yes, Your Honor.

               Uh, to our knowledge there was no one individual specifically assigned
       to guard that cocaine, that was a -- kind of a collateral duty I suppose of the --
       of the captain of the vessel, [sic] he was charged with captaining it as well as,
       uh, you know, of assuming responsibility for the cocaine and that would have
       been Manuel.

             Uh, with regard to the mechanic, uh, I believe the mechanic, uh, was
       Mr. Redis Mina, uh, that we learned, but Mr. Liobar Estupinan was a -- was
       a mariner, uh, as was, uh, the defendant just sentenced, Mr. Jose Soliman.

              All four of these members, however, did assist at the beginning of their
       journey in somewhere around Buenaventura with transporting the go-fast to
       an inlet, uh, then helping load all 118 bales of cocaine on board that vessel
       and driving it across the eastern Pacific Ocean.

               When they were spotted, uh, attached to the fishing vessel CRISMAR
       refueling. Uh, Mr. Crawford's chain of events is a little different from what the
       Coast Guard relays, uh, and if I could I can read directly from the Coast
       Guard situational report as to what the Coast Guard members observed that
       day. Uh, and there's a lot of acronyms in here, [sic] I'll try to work around
       them.

              THE COURT: There's a lot of what?


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              MS. CROFF: Acronyms. Military acronyms, and it makes it difficult
       to read.

              THE COURT: Thank you.

              MS. CROFF: Uh, but when the go-fast was spotted, as I said, it was
       alongside the fishing vessel CRISMAR. Uh, the go-fast then got underway
       with the helicopter pursuing it, and the, uh, they did stop briefly.

              The over-the-horizon boat that the Coast Guard had was then
       launched to go aboard the go-fast. The go-fast got underway once again, uh,
       causing the -- over-the-horizon boat, or small boat, to be recovered on board
       the cutter, uh, until the helicopter could then fire disabling -- or warning shots
       to cause the go-fast to stop.

              Uh, but when the Coast Guard did approach it in their small boat once
       again, uh, the four crew members on the go-fast began removing clothing
       and throwing objects overboard.

               The uh, life raft was deployed while the small boat re-positioned to
       recover the persons in the water. Three of the go-fast crew members made
       it onto the life raft safely.

              The flare was unsuccessful in fully igniting the go-fast. A remaining
       crew member of the go-fast in the water attempted to re-board the go-fast in
       an effort to re-ignite the fire, but the small boat was able to keep him from
       climbing back on board.

              Uh, the boarding team then secured all four go-fast crew members on
       board the cutter for medical evaluation.

               Uh, it's unknown which of that one crew member was the one that
       tried to re-ignite and climb back on board the go-fast, but what is clear is --
       is, uh, very different from what Mr. Crawford's chain of events in that his
       client jumped overboard before the pursuit actually occurred.

               All four of them jumped out of the vessel at the same time, removed
       their clothing, started throwing objects overboard, uh, and -- and in essence
       there's nothing that -- that separates his client, Mr. Crawford's client, as being
       any less culpable than the others on board that vessel.

              And, uh, Mr. Crawford notes that it's a very subtle difference, that we
       have to have a trained ear. It's the defense's burden by a preponderance of
       the evidence to prove that Mr. Liobar Estupinan is less culpable than most
       other participants.

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              Uh, the Government would argue that he has not done that. All four
       crew members were -- aside from the captain, who did receive a one-level --
       or a two-level upward departure for his role of captain, uh, all had a -- an
       equal role in loading the cargo on board the vessel, transporting it across the
       Pacific Ocean while stopping at refueling stations, and were they to have
       reached their final destination, then assist in unloading those 118 bales of
       cocaine.

              And, uh, when you consider the amount of cocaine that was involved
       here, as well as the payment to Mr. Estupinan, which was a [sic] offering of
       20,000,000 pesos, uh, a down payment of 10,000,000 pesos up-front, uh, to
       receive another 10,000,000 in return, that total payment that he was to
       receive is nearly $8,000, which is a very significant sum of money for, uh, a
       Colombian fisherman, that, uh -- reviewing all those circumstances, that a
       minor role is not warranted in this case, Your Honor.

              THE COURT: Okay.

              Agent, did you debrief any of these people?

              SPECIAL AGENT GONZALEZ: Yes, ma'am.

              THE COURT: Everybody?

              SPECIAL AGENT GONZALEZ: Everybody.

              THE COURT: Okay.

              In your debriefing of his brother, for example, or any of the co-
       defendants, was there anything that might distinguish Mr. Liobar Estupinan
       in some way as far as not participating in throwing the load of bales over, or
       anything?

              SPECIAL AGENT GONZALEZ: No, Your Honor. No. Actually, it
       shows -- the debriefing show [sic] that everyone participated in the unload of
       the cocaine, and nobody mentioned that the -- Liobar did not participate in
       the throwing of the bales overboard.

              THE COURT: Okay.

              Were most of the bales thrown overboard?

              SPECIAL AGENT GONZALEZ: I'm not sure of the amount.

              THE COURT: All right.

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             MS. CROFF: No, Your Honor, actually, uh, the bales -- most of the
       bales were found on board the go-fast, uh, assuming that's why it was
       attempted to be set fire. There was a number of objects, uh, that were
       thrown overboard –

                SPECIAL AGENT GONZALEZ: Talking more of the radios and the
       stuff that was just laying around was being thrown overboard as they were
       being chased. However, the cargo stayed, because they were trying to set
       it on fire, hoping to destroy that.

              THE COURT: Okay.

              And your debriefing didn't reveal who was trying to set it on fire?

              SPECIAL AGENT GONZALEZ:              Oh, no.     Uh-uh. (Shaking head
       negatively).

              THE COURT: Okay.

              All right. Thank you.

              Okay. Well, anything else anyone would like to say?

               [DEFENSE ATTORNEY MR. CRAWFORD]: One of the advantages
       of having safety valve is that it requires the defendants to meet with the
       Government and tell them the truth as to what happened. My client met with
       the Government and told the agent that he did not throw any of the bales
       overboard, [sic] that he did take off a part of his clothing and jump overboard,
       that he did not shoot the flare gun into the boat, so -- I'm -- I'm -- stuck here
       with -- with the condemnation of they did this, they did that without making
       any attempts to make the distinctions. And we need, to do justice in this
       case, to make those distinctions to determine whether or not he deserves a
       minor role.

              THE COURT: Okay.

               Maybe I misunderstood, let me ask, did -- did you ask -- rather than
       telling you what my understanding was, let me just ask. Did you ask the co-
       defendants who shot the -- ask each of the co-defendants who shot the flare
       into the boat?

              SPECIAL AGENT GONZALEZ: No.

              THE COURT: So you didn't ask that question?


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               SPECIAL AGENT GONZALEZ: No, Your Honor.

               THE COURT: Okay.

               Did you ask Mr. Liobar Estupinan that question?

               SPECIAL AGENT GONZALEZ: No, Your Honor. I didn't -- I use my --
        the way that I debrief, I try to let them tell me their -- their story, and I just put
        it down in the paper.

               THE COURT: Okay.

               Did he tell you that he didn't do that?

               SPECIAL AGENT GONZALEZ: No. No, Your Honor.

               He did tell me -- he did tell me that he did not -- he did tell me, we did
        not load the go-fast. He said, we counted 118 bales, but we did not load the
        go-fast. However, I have other debriefings that say we all loaded the go-fast.

               THE COURT: Okay.

               (Pause.)

               All right. Well, I can't see anything that distinguishes Mr. Liobar
        Estupinan from any of the other -- and I agree with you, Mr. Crawford, that's
        where I need to be looking, is there anything that distinguishes him from any
        of the other participants on the go-fast boat, and I can't find anything.
        Obviously, he's distinguished from his brother, who was the captain, but he
        got a two-level increase, so.

 (Doc. cr-132 at pp. 8-16).

        The Court found that Estupinan was not entitled to a minor role because Estupinan's

 role was no different from the roles of the other three mariners on the go-fast. The record

 supports the denial of a minor role reduction; ground two does not warrant relief.

                                          Ground Three

        Estupinan alleges that a departure for extraordinary family circumstances and for

 collateral consequences due to deportability is warranted. Estupinan claims that his family


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 is suffering a great hardship without him and:

        relied heavily on him for guidance and financial support. With the added
        deterrent of separation of family, the punishment factor is severely increased
        and the punishment extends to the family. (18 U.S.C. § 3553(b)). Non
        deportable inmates' families will not suffer the same circumstances, a factor
        not accounted for in the sentencing guidelines or at sentencing. Defendant's
        14th Amendment rights are being violated. The Equal Protection clause is
        to guarantee that similar individuals are dealt with in a similar manner by the
        Government.

               Due to the defendant's deportability, he is ineligible for participation or
        incentives related to the RESIDENTIAL DRUG ABUSE PROGRAM,
        HALFWAY HOUSE or CCC, MINIMUM SECURITY, or CAMP PRISON,
        INCARCERATION WITHIN 500 MILES OF FAMILY TIES, and as proven
        with his current detention, placement in a real BOP facility which has far
        higher quality food, education, medical, library, rehabilitative programs,
        higher pay grades (E.I. BOP's UNICOR work program pay upwards of $800
        monthly, at CCA (prison for profit), he earns approximately $15-$18 a month)
        etc. Aside from being ineligible for all of the above, the differences between
        BOP and a prison for profit are enormous. This is a factor beyond Mr.
        Paredes control, kept silent from the public, yet allowed by law. These
        inequalities are just some of the many COLLATERAL CONSEQUENCES
        DUE TO DEPORTABILITY. The defendant has a PSF (Public Safety Factor)
        designation, rendering him ineligible for a minimum security facility, unlike a
        non deportable inmate, who commits the same offense, who was equally or
        more culpable and received an identical sentence.

 (Amended Motion To Vacate, Doc. cv-4 at pp. 6-7, 13).

        Like ground two, this claim is not a 28 U.S.C. § 2255 issue. See United States v.

 Lahoud, 178 Fed. Appx. 926, 928 (11th Cir. 2006). Furthermore, the claim has no merit.

 The collateral consequences that a defendant faces because he is a deportable alien

 generally do not support a departure. Id. See also, United States v. Maung, 320 F.3d 1305

 (11th Cir. 2003) (downward departure sentence could not properly be based on desire to

 shield defendant from immigration consequences of conviction). In United States v.

 Restrepo, 999 F.2d 640 (2d Cir. 1993), the district court relied on collateral consequences

 stemming from the defendant's status as an alien to support a downward departure. These

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 collateral consequences included ineligibility for assignment to lower-security facilities; post

 imprisonment detention pending removal, and removal itself. Id. at 644-47. The Second

 Circuit found that those collateral consequences were insufficient to support a downward

 department and reversed the downward departure on direct appeal.

        Ground three does not warrant relief.

                                          Ground Four

        Estupinan alleges that he entered into a plea agreement under false pretenses. He

 alleges:

               Defendant entered into a plea agreement waiving his right to appeal.
        He received 121 months, the same or more than other individuals with similar
        10 yr. minimums but who had not entered into a plea agreement. In the
        majority of cases, even the non-deportable defendants received 2 level
        departures for a plea agreement and additional 2 level departures for safety
        valve, halfway house, CCC camp status (BOP facilities), moved within 500
        miles of family, education, rehabilitation, drug programs, RDAP, pre-release
        preparation for reentry into society . . . Defendant is deprived of all these
        rights afforded to non-deportables and all without jurisdiction.

 (Amended Motion To Vacate, Doc. cv-4 at p. 8).

        Estupinan's claims are simply not true, specifically that the majority of non-

 deportable defendants secure a two-level departure for a plea agreement. Estupinan's 121-

 month sentence is one level less than the advisory guidelines range of 135 to 168 months.

 In imposing the sentence, the Court considered the 18 U.S.C. § 3553 factors, the nature

 and circumstances of the offense, the history and characteristics of the defendant, and

 specifically the fact that Estupinan entered a plea pursuant to a plea agreement in which

 he waived his right to appeal.

        Furthermore, Estupinan's allegation that he received the same sentence as the other

 Defendants who did not enter into a plea agreement and give up their right to appeal is

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 incorrect. Defendant Soliman, who did not enter into a plea agreement, received a 135-

 month sentence. (Doc. cr-127).

        Estupinan's arguments also fail because Estupinan has not shown the violation of

 any constitutional right. Estupinan has no due process liberty interest in early release. See,

 e.g., Wottlin v. Fleming, 136 F.3d 1032, 1036 (5th Cir.1998). More generally, inmates do

 not have any federal constitutional right to participate in rehabilitative programs. Nor does

 an inmate have any constitutionally protected interest in a particular housing assignment

 or transfer to a particular prison. See, e.g., McKune v. Lile , 536 U.S. 24, 39 (2002) (“It is

 well settled that the decision where to house inmates is at the core of prison administrators'

 expertise.”); Meachum v. Fano, 427 U.S. 215, 225 (1976) (no right to incarceration at any

 particular prison). In sum, Estupinan has not shown that his Fifth Amendment due process

 rights have been violated. See also, Moody v. Daggett, 429 U.S. 78, 88 n. 9 (1976)

 (Federal prisoners have no due process right to eligibility for rehabilitative programs.);

 Murdoch v. Washington, 193 F.3d 510, 513 (7th Cir.1999) (no protectible liberty or property

 interest in attending rehabilitation program); Wishon v. Gammon, 978 F.2d 446, 450 (8th

 Cir.1992)(no right to educational or vocational opportunities); Canterino v. Wilson, 869 F.2d

 948, 952-54 (6th Cir.1989) (no liberty interest in inmate classification or eligibility for work

 programs); Hernandez v. Johnston, 833 F.2d 1316, 1318 (9th Cir.1987) (no right to

 particular inmate classification or eligibility for rehabilitative programs); Pugliese v. Nelson,

 617 F.2d 916, 923 (2d Cir.1980) (same); Battle v. Anderson, 564 F.2d 388, 403 (10th

 Cir.1977) (“[A]n inmate does not have a federal constitutional right to rehabilitation.”); Lyle

 v. Sivley, 805 F.Supp. 755, 759-60 (D. Ariz. 1990) (holding that Due Process Clause does

 not give federal prisoners a protected right to participate in drug treatment programs).

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        In Minh v. United States, 2006 WL 2444085 *3 (S.D. Ga. Aug. 22, 2006), the Court

 held that BOP's use of BICE detainers in deciding prisoners' eligibility for prison programs

 and early release did not offend equal protection principles. Courts have routinely upheld

 the Bureau's consideration of BICE detainers in making classification decisions regarding

 inmates, including such issues as security level and eligibility for prison programs.

        Estupinan's argument that deportable aliens are categorically denied transfers to

 halfway houses, CCC camp statuts, or drug rehabilitation programs is also misleading. As

 the Ninth Circuit has pointed out, the BOP excludes all inmates -- not just aliens -- who are

 subject to detainers from participation in community-based treatment programs. McLean

 v. Crabtree, 173 F.3d 1176, 1185 (9th Cir.1999). The “detainer exclusion,” which is based

 upon the rationale that prisoners with detainers pose an increased flight risk, does not

 single out aliens and does not violate the Equal Protection Clause. Id. See, e.g., Franklin

 v. Berry, 909 F.Supp. 21, 27-28 (D . D.C.1995)(upholding Bureau's reliance upon detainers

 in assigning security classifications to aliens); Limas v. McNary, 799 F.Supp. 1259, 1263

 (D. Mass.1992)(Bureau's decision to deny deportable aliens prerelease transfer to

 minimum security institutions did not implicate any constitutional right); Isaraphanich v.

 Coughlin, 715 F.Supp. 119, 120-21 (S.D. N.Y. 1989)(Bureau's reliance on detainers to

 deny aliens access to prison programs did not violate the Equal Protection Clause);

 Femandez-Collado v. I.N.S., 644 F.Supp. 741, 744 (D. Conn.1986)(“Petitioner has neither

 a legitimate statutory nor constitutional entitlement to those prison programs from which he

 may be denied access as a result of the detainer.”), afield 857 F.2d 1461 (2d Cir. 1987).

        Estupinan's argument that aliens are categorically denied participation in drug abuse

 treatment programs is also misleading. The Bureau does not deny aliens participation in

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 substance abuse treatment programs; rather, the Bureau denies aliens subject to BICE

 detainers consideration for early release on account of their completion of a residential drug

 abuse treatment program. See 28 C.F.R. § 550.58(a)(1)(I). Of note, the Bureau clearly

 possesses the power to categorically exclude inmates from consideration for early release.

 See Lopez v. Davis, 531 U.S. 230, 239-44 (2001) (upholding a Bureau regulation

 categorically excluding, based upon its general discretion under the statute to grant or deny

 early release, prisoners convicted of otherwise nonviolent offenses that involved use of a

 firearm). Furthermore, the Bureau may aim such an exclusion at deportable aliens if it has

 a rational basis for its decision. See Mathews v. Diaz, 426 U.S. 67, 77 (1976).

        Finally, Estupinan is correct that his deportability prevents him from participating in

 Federal Prison Industries (“UNICOR”) work assignments. See 28 C.F.R. § 345.35(a).

 Nevertheless, the Bureau clearly has a rational basis for excluding deportable aliens from

 consideration for rehabilitative programs, including UNICOR assignments. As one court has

 explained:

        The [Bureau] does not act in violation of Fifth Amendment equal protection
        standards in providing programs for prisoners who have a lawful right to
        remain in the country, whose rehabilitation is of interest to this country and
        the policy of this society, and in not providing programs for deportable aliens
        who have no right to be in the country and whom Congress has an interest
        in deterring from entering or returning .... There is no equal protection
        violation in different treatment of aliens as to rehabilitation and other
        programs. The United States may treat deportable aliens and citizens
        differently. There is no primary interest in reformation of deportable persons.
        That's an interest of the country to which they may be deported . Deterring
        further illegal reentry is a legitimate interest of the United States as well as
        saving expenses. Also, special security may be justified to avoid flight to the
        border. In the case of American citizens, or lawful residents, reformative
        programs are a worthy correctional consideration.

 Ruiz-Loera v. United States, 2000 WL 33710839, at *2 (D. Utah June 23, 2000) (citations


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 omitted); see also United States v. Tamayo, 162 Fed. Appx. at 816, 2006 WL 52792, at *3

 (“[T]here is a rational basis to deem deportable aliens, who will be sent out of the country

 after the term of their sentence, ineligible for programs geared toward rehabilitating

 prisoners who will re-enter society after their release from confinement.”).

        None of Estupinan's claims in ground four have merit and ground four does not

 warrant relief.

        Accordingly, the Court orders:

        That Estupinan's amended motion to vacate (Doc cv-4;cr-136) is denied. The Clerk

 is directed to enter judgment against Estupinan in the civil case and to close that case.

                       CERTIFICATE OF APPEALABILITY AND
                   LEAVE TO APPEAL IN FORMA PAUPERIS DENIED

        IT IS FURTHER ORDERED that Defendant is not entitled to a certificate of

 appealability. A prisoner seeking a writ of habeas corpus has no absolute entitlement to

 appeal a district court's denial of his petition. 28 U.S.C. § 2253(c)(1). Rather, a district court

 must first issue a certificate of appealability (COA). Id. “A [COA] may issue AAA only if the

 applicant has made a substantial showing of the denial of a constitutional right.” Id. at §

 2253(c)(2). To make such a showing, Defendant “must demonstrate that reasonable jurists

 would find the district court's assessment of the constitutional claims debatable or wrong,”

 Tennard v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473,

 484 (2000)), or that “the issues presented were ‘adequate to deserve encouragement to

 proceed further, ’ " Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003) (quoting Barefoot v.

 Estelle, 463 U.S. 880, 893 n. 4 (1983)). Defendant has not made the requisite showing in

 these circumstances.


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       Finally, because Defendant is not entitled to a certificate of appealability, he is not

 entitled to appeal in forma pauperis.

       ORDERED at Tampa, Florida, on March 9, 2007.




 AUSA: Christopher Francis Murray

 Pro se: Liobar Estupinan




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